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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 HE DEPU, et al.,
                                                         No. 1:17-0635-RDM
                         Plaintiffs,
                                                         Judge Randolph D. Moss
                 v.

 OATH HOLDINGS, INC., et al.,

                         Defendants.


                NOTICE OF REQUEST FOR PRE-MOTION CONFERENCE

        Defendant Michael Callahan, through counsel and pursuant to Standing Order Rule 10,

files this Notice of Request for Pre-Motion Conference to hold a conference regarding Mr.

Callahan’s request for leave to file a Motion for Summary Judgment under Local Civil Rule 7(h)

and Federal Rule of Civil Procedure 56. Mr. Callahan requests leave to file the Motion now, and

proposes to do so within 14 days of the Court’s entry of an order granting leave.

                          GROUNDS FOR ANTICIPATED MOTION

        Mr. Callahan’s Motion for Summary Judgment will address all claims from all Plaintiffs,

and will consist primarily of two arguments: first, the claims of all Plaintiffs are time-barred by

District of Columbia law; and second, to the extent his claims are not time-barred, Plaintiff Xu

Wanping (“Wanping”) lacks Article III standing to bring his claims against Mr. Callahan.

        Statute of Limitations. D.C. Code § 19-1310.05(c) provides that “a judicial proceeding by

a beneficiary against a trustee for breach of trust must be commenced within 3 years after the first

to occur of: (1) [t]he removal, resignation, or death of the trustee; (2) [t]he termination of the

beneficiary’s interest in the trust; or (3) [t]he termination of trust.”




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       To the extent Plaintiffs claim that Mr. Callahan was a trustee (which he was not), they were

required to bring their claims against him by no later than at least July 9, 2015, three years after

his resignation from Yahoo. The undisputed evidence in this case shows that Mr. Callahan

resigned all positions with Yahoo on or about July 9, 2012 and has no knowledge of, or

involvement in, any activity concerning the Yahoo Human Rights Fund (“YHRF”) following that

date. See Def. Michael Callahan’s Second Am. Responses to Pls.’ First Set of Interrogatories to

Michael Callahan, Ex 1. Plaintiffs also acknowledged in the Second Amended Complaint that Mr.

Callahan is no longer a trustee (assuming he ever was), which the Court noted in its March 22,

2021 opinion. Doc. 93 at 27-28.

       Plaintiffs filed their complaint on April 17, 2017, almost five years after Mr. Callahan

resigned from Yahoo. And the undisputed evidence developed in discovery shows that neither of

the “limited exceptions” to this Court’s “strict application of statutes of limitations”—the lulling

doctrine or the discovery rule—apply. East v. Graphic Arts Indus. Joint Pension Tr., 718 A.2d

153, 156 (D.C. 1998); see also Second Am. Compl. ¶¶ 10-14 (alleging release dates from prison

no later than 2012 for all Plaintiffs except Wanping). Accordingly, Plaintiffs’ claims against Mr.

Callahan are time-barred by § 19-1310.05(c).

       Lack of Standing. If Plaintiff Wanping’s claim is found not to be time-barred (because he

was allegedly in prison until April 29, 2014), his claims fail for lack of standing because he has

not shown that Mr. Callahan took any action to cause him a concrete, particularized, redressable

injury. In fact, Wanping’s deposition testimony conclusively established his lack of standing as

to Mr. Callahan. Tr. at 83-84, Ex. 2. Mr. Callahan’s involvement in the alleged actions relevant

to this case concluded (as noted above) in July 2012, years before Plaintiff Wanping’s application

for a humanitarian grant was allegedly denied. See Second Am. Compl. ¶ 15 (“In early 2016, Xu




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W. applied for funding from the Trust. Defendant Harry Wu responded in March 2016, informing

Xu W. that the LRF had deliberated the matter, concluded that the Trust’s humanitarian purpose

should be terminated, and that that purpose was, in fact, terminated.”). Discovery has also shown

that Plaintiff Wanping never communicated with Mr. Callahan in any fashion, further evidencing

the lack of any link between Mr. Callahan and Plaintiff Wanping’s alleged injury. See Pls.’ Supp.

Objections and Responses to Oath Holdings, Inc.’s Third Set of Requests for Production and

Second Set of Interrogatories, No. 15, Ex. 3; Muir v. Navy Fed. Credit Union, 366 F. Supp. 2d 1,

2 (D.D.C. 2005) (holding that while plaintiff had sufficiently alleged an injury against the bank—

the loss of $27,000—that injury could not be traceable to a debt collector, who the court dismissed

for lack of standing).

       Ripeness. Mr. Callahan’s summary judgment motion is ripe now because the parties have

progressed substantially far into discovery and, as to Callahan and the grounds for his motion, the

record is complete. Put differently, there are no “additional facts that would guide the Court’s

decision as to the merits of” Plaintiffs’ claims against Mr. Callahan on the issues that form the

basis of the proposed summary judgment motion. Bynum v. District of Columbia, 215 F.R.D. 1, 2

(D.D.C. 2003). Further exchange of documents (which is substantially complete in any event),

interrogatories, or depositions will not change when Mr. Callahan resigned from Yahoo or when

Plaintiffs filed their lawsuit, nor will it resuscitate Mr. Callahan’s lack of connection to Plaintiff

Wanping’s alleged injury. See Nnadili v. Chevron U.S.A., Inc., 435 F. Supp. 2d 93 (D.D.C. 2006)

(ruling on motion for summary judgment before close of discovery, but where record as to issues

raised in motion was fully developed). Mr. Callahan need not incur additional time defending

against Plaintiffs’ indisputably time-barred and deficient claims. Thus, it is appropriate for this

Court to adjudicate his Motion for Summary Judgment at this stage. See also Fed. R. Civ. P. 56(b)




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(“a party may file a motion for summary judgment at any time until 30 days after the close of all

discovery”).

                                         CONCLUSION

         For these reasons, Mr. Callahan respectfully requests that this Court permit him to file a

Motion for Summary Judgment now. 1

    Dated: November 14, 2022                      Respectfully submitted,

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                                                  Counsel for Defendant Oath Holdings, Inc.,
                                                  Ronald Bell, and Michael Callahan




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  Plaintiffs have stated their intent to depose Mr. Callahan on issues concerning breach of the
“Trust” as well as damages. Those issues are not relevant to the proposed Motion for Summary
Judgment. In any event, if Plaintiffs wish to proceed with this deposition while the Motion is
pending, Mr. Callahan does not object.


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                              CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2022, the foregoing document were served via

email to the following:


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